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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                      :
                                              : Crim. No.: 20-CR-00724 (BRM)
                                              :
vs.                                           :
                                              :
                                              :       ORDER FOR MODIFICATION
                                              :       OF RELEASE CONDITIONS
DOMINIQUE AUSTON                              :




         THIS MATTER having come before the Court on the joint application of defendants

Dominique Auston (by Stacy Biancamano, Esq., Biancamano Law, LLC) for modification of their

conditions of pretrial release; and the United States (by Emma Spiro, Assistant United States

Attorney) consenting to the entry of the Order; and United States Pretrial Services (by Erika

DiPalma, U.S. Pretrial Services Office) consenting to the entry of the Order; and for good cause

shown;
                        21ST
         IT IS on this _____ day of November, 2022:



         1.    ORDERED that defendant, Dominique Auston’s pretrial release conditions be,
               and hereby are, modified so as to allow her to travel to a family member's address
               previously approved by Pretrial Services to attend Thanksgiving Dinner from 3:00
               pm to 11:00 pm on Thursday, November 24, 2022.


         2.     ORDERED that all other conditions previously imposed shall remain in effect.



                                                         _________________________________
                                                            Hon. Brian R. Martinotti, U.S.D.J
